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         Exhibit 14
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                                                                          233 BROADWAY, SUITE 801
                                                                          WOOLWORTH BUILDING
        LAW FIRM OF                                                       NEW YORK, NY 10279
OMAR T. MOHAMMEDI, LLC                                                    PHONE (212) 725-3846
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OMAR T. MOHAMMEDI, ESQ.
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EMAIL: OMOHAMMEDI@OTMLAW.COM

ADMITTED: NEW YORK, EIGHT CIRCUIT
SECOND CIRCUIT, ALGERIAN BAR
US COURT ON INTERNATIONAL TRADE


                                                               December 12, 2011

         VIA REGULAR AND ELECTRONIC MAIL
         His Excellency Adel A. Al-Jubeir
         Ambassador to the Royal Embassy of Saudi Arabia
         C/O Nancy Dutton, Esq.
         5017 Tilden Street NW
         Washington, DC 20016

                Re: In re Terrorist Attacks of September 11, 2001, 03 MDL 1570

         Your Excellency:

               We write to follow-up to our letter to you dated December 2, 2011 in
         which we requested your assistance obtaining financial records for our client, the
         World Assembly of Muslim Youth (“WAMY”) in the above-captioned matter.

               We are seeking financial records from Al-Rajhi Bank, account Nos.
         110608010425160 and 279608010024887 for the period between 1992 and 2002.
         The contact information for the person at WAMY to whom you may send the
         information is Mohammed Al Qatabi, Tel: 966-1205-0390, Address: The World
         Assembly of Muslim Youth, P.O. Box 10845, Bldg. 1079, Riyadh, Saudi Arabia
         11443.

               As you may know WAMY has an obligation to comply with the discovery
         requests Plaintiffs sent. The discovery deadline was extended to January 31,
         2012. We are hoping to receive these documents no later than January 15, 2012.

                Your Excellency, we thank you again for your assistance in obtaining
         these records.

                                                        Respectfully,

                                                        Omar Mohammedi

                                                        Omar T. Mohammedi, Esq.


         Cc: Frederick Goetz, Esq.



     CONFIDENTIAL                                                                  WAMY SA 1984
